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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov

    In re
                                                              Case No. 24-21852-LMI
    GAUCHO          GROUP         HOLDINGS,
    INC.
                                                              Chapter 11

                  Debtor.                              /

                 DEBTOR GAUCHO GROUP HOLDINGS, INC.’S
            MOTION TO APPROVE SETTLEMENT WITH CREDITOR 3i, LP
            Debtor, Gaucho Group Holdings, Inc. (“Gaucho” or “Debtor”), files this motion
(the “Motion”) pursuant to Federal Rule of Bankruptcy Procedure 9019, and states:
                                  PRELIMINARY STATEMENT 1
            1.      Gaucho has reached a settlement with Creditor, 3i, LP (“3i,” together with
Gaucho, the “Parties”), 2 that it believes will significantly benefit the estate and its
creditors as detailed below and in the Settlement Term Sheet annexed hereto as Exhibit
A. In short, this settlement will resolve any and all claims between 3i and Gaucho,
including the following: (i) 3i’s Proof of Claim totaling at least $8,022,667.19 against the
estate; (ii) 3i’s Motion to Dismiss; (iii) Gaucho’s Motion to Subordinate Claim; (iv) the
Secured Note Obligations; 3 (v) the Delaware Action; and (vi) all other pending matters

1
  Defined terms used but not defined in this Preliminary Statement shall have the meanings ascribed in this
Motion.
2
  The Settlement Term Sheet includes the following parties: Gaucho (referred to in the Settlement Term
Sheet as “GGH”), Gaucho Group, Inc. (“GGI”), Algodon Global Properties, LLC (“AGP”),
InvestProperty Group, LLC (“IPG”), Gaucho Ventures I-Las Vegas, LCC (“GV”), The Algodon Recoleta,
S.R.L. (“AR SRL”), Algodon Properties II S.R.L. (“AP SRL”), Algodon Wine Estates S.R.L. (“AWE
SRL”), and Gaucho Development S.R.L. (“GD SRL”), and 3i (referred to in the Settlement Term Sheet as
"Lender").
3
  The Settlement Term Sheet defines “Secured Note Obligations,” as collectively, the obligations
outstanding under: (i) that certain Securities Purchase Agreement, dated as of February 21, 2023 by and
among GGH and the Lender; (ii) that certain Pledge and Security Agreement, dated as of February 21, 2023,
by and among GGH, GGI, the Noteholder, and the Lender, pursuant to which GGH and GGI granted to the
Lender, for itself and for the benefit of the Noteholder, a security interest in the Collateral; (iii) that certain
Intellectual Property Security Agreement, dated February 21, 2023 by and among GGH and the Lender in
favor of the Lender; (iv) that certain Senior Secured Convertible Note, dated as of February 21, 2023, by
GGH in favor of the Lender as Noteholder in the original principal amount of $5,617,978; and (v) any other
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and litigations between Gaucho and 3i.
        2.       Under the terms of the settlement, Gaucho agrees to, among other things:
(i) allowance of 3i's secured claim in this case in the amount of $5,500,000; (ii) pay 3i the
total sum of $5,500,000 of which $500,000 will be paid on the Closing Date and the
remaining $5,000,000 will be paid over the course of twelve months post-closing at the
times set forth In the settlement; (iii) cause its subsidiaries, AGP, IPG, and AP SRL
(collectively, the "Settlors"), to convey and transfer to the Trustee (the “Trustee”) of a
newly formed Fideicomiso en Garantía (the “Security Trust”) all of Settlors’ right, title
and interest in and to 100% of the quota interests in AR SRL and all ancillary rights and
benefits thereunder, or all right, title and interest in and to the Algodon Mansion hotel, or
both; (iv) the entry of a consent judgment in favor of Defendants in the Delaware Action;
(v) withdraw the Motion to Subordinate Claim; (vi) direct The Basile Law Firm that it may
not refer to or use Gaucho and its case in its marketing materials; (vii) execute and deliver
the agreements to terminate any and all purchase and sale agreements entered into between
Gaucho and Maier Tarlow, Mordechai Tarlow, and Paula Zogala and the return of their
respective deposits; (viii) execute and deliver a letter from Scott Mathis acknowledging the
decision in the Delaware Action; and (ix) provide a full release to 3i (collectively, and as set
forth in greater detail in the Settlement term Sheet, the "Gaucho Settlement Terms").
        3.       In turn, 3i agrees to, among other things: (i) dismiss with prejudice the
pending actions in the United States District Court for the Eastern District of New York
and in the New York County Supreme Court; (ii) terminate the Independent Manager of
AGP and IPG and retract the amended and restated limited liability company operating
agreements for AGP and IPG; (iii) file UCC-3 terminations of 3i’s liens on Gaucho’s assets
(including the pledge of interests in Gaucho’s direct subsidiaries); and (iv) provide a full
release to Gaucho (collectively, and as set forth in greater detail in the Settlement term
Sheet, the "3i Settlement Terms," and together with the Gaucho Settlement Terms, the
"Settlement Terms"). 4

document instrument and agreement executed by GGH, GGI, the Noteholder, GGH officers in their
individual capacity, and/or the Lender in connection with the foregoing documents.
4
  For the avoidance of doubt, the Settlement Terms set forth in this Motion are intended as a summary and
the terms of the Settlement Term Sheet attached as Exhibit A shall control.
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       4.      The outside closing date for the settlement is May 22, 2025.
       5.      Gaucho believes that this settlement is eminently reasonable and in the best
interest of the estate and its creditors. Respectfully, it requests that the Court approve it.
                             RELEVANT BACKGROUND
I.     The Bankruptcy Case and Contested Matters
       6.      On November 12, 2024 (the “Petition Date”), Gaucho commenced a
voluntary case under Chapter 11 of the U.S. Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Florida, Miami Division (the “Bankruptcy
Case”). Gaucho is authorized to continue to operate their businesses and manage its
properties as debtors in possession pursuant to Bankruptcy Code sections 1107 and
1108. As of the date hereof, no trustee, examiner, or statutory creditors’ committee has
been appointed.
       7.      3i is the largest creditor of the Debtor’s estate. On January 21, 2025, 3i filed
proof of claim, Claim No. 8 in the amount of at least $8,022,667.19 (the “Proof of Claim”),
in the Bankruptcy Case.
       8.      On January 21, 2025, 3i filed its Motion for Entry of Order Dismissing
Debtor’s Chapter 11 Case or, in the Alternative, Granting 3i, LP Relief from the Automatic
Stay [ECF No. 164] (the “Motion to Dismiss”).
       9.      On February 3, 2025, Gaucho filed its Preliminary Response in Opposition
to 3i, LP’s Motion to Dismiss Or, In The Alternative, For Relief From The Automatic Stay
[ECF No. 189].
       10.     On February 20, 2025, this Court entered the Order Scheduling Evidentiary
Hearing and Deadlines in Connection with Motion for Entry of Order Dismissing Debtor’s
Chapter 11 Case or, In the Alternative, Granting 3i, LP Relief from the Automatic Stay
[ECF No. 164] [ECF No. 246]. Pursuant to the Evidentiary Hearing Order, “[i]f a chapter
11 plan and disclosure statement are not filed with the Court by March 12, 2025, then the
Court shall hear the Contested Matter by evidentiary hearing on March 28, 2025 at 9:30
a.m., and March 31, 2025 at 9:30 a.m.”
       11.     On February 27, 2025, this Court entered the Notice to Parties Participating
in Judicial Settlement Conference [ECF No. 274] (the "Judicial Settlement Conference
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Notice"). Pursuant to the Judicial Settlement Conference Notice, the Parties were to
participate in a Judicial Settlement Conference on March 17, 2025.
       12.     On March 3, 2025, Gaucho filed its Motion to Subordinate 3i, LP’s Claim
Pursuant to 11 U.S.C. 510(B) [ECF No. 285] (the "Motion to Subordinate Claim," and
collectively with the Motion to Dismiss, the “Contested Matters”).
       13.     On March 5, 2025, this Court entered the Order Setting Briefing Schedule
and Hearing on Debtor’s Motion to Subordinate 3i, LP’s Claim Pursuant to 11. U.S.C.
510(b) [ECF No. 307] (the "Subordination Hearing Order").                 Pursuant to the
Subordination Hearing Order, the hearing on Debtor’s Motion to Subordinate 3i’s Claim
was set for May 7, 2025.
       14.     The Evidentiary Hearing Order, the Judicial Settlement Conference
Notice, and the Subordination Hearing Order, set forth: (i) various deadlines, including the
Exclusivity Deadline; and (ii) the dates for the Judicial Settlement Conference, the
Evidentiary Hearing, and the Subordination Hearing.
       15.     On March 12, 2025, Gaucho and 3i filed Debtor Gaucho Group Holdings,
Inc.'s and Creditor 3I, LP's Joint Motion to Extend Exclusivity and Solicitation Periods and
All Deadlines and Continue All Hearings Pursuant to the Settlement Term Sheet [ECF
No. 316] (the “Joint Motion”). On March 13, 2025, this Court granted that Motion.
II.    The Delaware Action and Other Pending Litigations
       16.     There are pending litigations between Gaucho and 3i, including, without
limitation, the cases styled as: (i) Gaucho Group Holdings, Inc. v. 3i, LP, 3i Management,
LLC, and Maier Joshua Tarlow, Case No. 24-cv-00212-UNA, pending in the United States
District Court for the District of Delaware (the “Delaware Action”); (ii) 3i, LP, 3i
Management LLC and Maier Joshua Tarlow v. Gaucho Group Holdings, Inc., Case No.
1:2024-mc-03915, pending in the United States District Court for the Eastern District of
New York; (iii) 3i, LP, 3i Management, LLC, and Maier Joshua Tarlow v. Gaucho Group
Holdings, Inc., Case No. 2:24-mc-03929-NJC, pending in the United States District Court
for the Eastern District of New York; (iv) 3i, LP v. Gaucho Group Holdings, Inc. and
Gaucho Group, Inc., Index No. 652908/2024, pending in the New York County Supreme
Court; and (v) 3i, LP v. Gaucho Group Holdings, Inc., Index No. 653080/2024, pending
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in the New York County Supreme Court (collectively, the “Litigations”).
III.     The Settlement Term Sheet
         17.      On March 12, 2025, the Parties executed a term sheet setting forth the terms
for the settlement between Gaucho and 3i (the “Settlement Term Sheet”). A copy of the
Settlement Term Sheet is attached as Exhibit A.
         18.      The Settlement Term Sheet contemplates a comprehensive settlement
between the Parties regarding the Proof of Claim, the Secured Note Obligations, the
Contested Matters, the Bankruptcy Case, the Litigations, and all other disputes between
the Parties (the “Settlement”). The Settlement is subject to the execution and delivery
by the Parties of the definitive documents, as defined in the Settlement Term Sheet, and
Bankruptcy Court approval. The terms and conditions of the Settlement shall be set forth
in a “Settlement Agreement” executed by the Parties.
                                        RELIEF REQUESTED
         19.      Gaucho respectfully requests that the Court approve the Settlement
between it and 3i, the terms of which are set forth in the Settlement Term Sheet attached
as Exhibit A.
         20.      This Settlement Terms, as set forth herein and in the Settlement Term
Sheet, will resolve any and all Claims between Gaucho on one hand, and the largest
creditor in the Debtor’s estate, 3i, on the other hand, including, but not limited to, the
following: (i) the Proof of Claim; (ii) the Secured Note Obligations; (iii) the Contested
Matters; (iv) all Claims set forth in the Delaware Action; and (v) all Claims set forth in the
Litigations.
         21.      Bankruptcy Rule 9019(a) provides: “On motion . . . and after a hearing on
notice to creditors, the debtor . . . and to such other entities as the court may designate, the
court may approve a compromise or settlement.” As this Court has previously found,
“approval of a settlement in a bankruptcy proceeding is within the sound discretion of the
Court, and will not be disturbed or modified on appeal unless approval or disapproval is an
abuse of discretion.” 5

5
 In re Arrow Air, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla. 1988) (Cristol, J.) (citing Rivercity v. Herpel (In re
Jackson Brewing Co.), 624 F.2d 599, 602-03 (5th Cir. 1980); Anaconda-Ericsson, Inc. v. Hessen (In re
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         22.       The test is whether the proposed settlement “falls below the ‘lowest point
in the range of reasonableness.’” 6
         23.       According to the United States Eleventh Circuit Court of Appeals, when a
bankruptcy court decides whether to approve or disapprove a proposed settlement, it must
consider: (a) the probability of success in the litigation; (b) the difficulties, if any, to be
encountered in the matter of collection; (c) the complexity of the litigation involved, and
the expense, inconvenience and delay necessarily attending it; and (d) the paramount
interest of the creditors and a proper deference to their reasonable views in the premises. 7
    A. The Probability of Success in the Litigation.
         24.       While Gaucho is confident that it could succeed on one or more of its claims
and obtain a finding that 3i’s claims are without merit (which, of course, 3i does not agree),
Gaucho also recognizes that there is a risk in litigation, that the claims are complex, and
that 3i would continue to vigorously defend its claims. The ultimate outcome remains
uncertain.
    B. The Difficulties, if any, to be Encountered in the Matter of Collection.
         25.       Even if Gaucho were to prevail, there are significant challenges to
continuing the litigation including, but not limited to, the continuing cost and financial
drain of the Litigations, this Bankruptcy Case and any appeals relating thereto.
    C. The Complexity of the Litigation Involved, and the Expense, Inconvenience
       and Delay Necessarily Attending It.
         26.       Gaucho recognizes that continued litigation with 3i would involve
significant risk, expense, delay, and inconvenience to the estate. The underlying issues
arising from the Contested Matters and the Delaware Action are complex and have been
– and would continue to be – expensive to pursue as they require further and extensive
briefing, discovery, evidentiary hearings, and appeals. Therefore, this factor strongly
favors approval of the Settlement Term Sheet.


Teltronics Servs., Inc.), 762 F.2d 185, 189 (2d Cir. 1985); In re Prudence Co., 98 F.2d 559 (2d Cir. 1938),
cert. denied sub nom. Stein v. McGrath, 306 U.S. 636 (1939)).
6
  Arrow Air, 85 Bankr. 891 (quoting Teltronics Servs., 762 F.2d 189; Cosoff v. Rodman (In re W.T. Grant
Co.), 699 F.2d 599, 608 (2d Cir.), cert. denied, 464 U.S. 822 (1983)).
7
  Wallis v. Justice Oaks II, Ltd. (In re Justice Oaks II. Ltd.), 898 F.2d 1544, 1549 (11th Cir. 1990). See Jackson
Brewing, 624 F.2d 602, quoted in Arrow Air, 85 B.R. 891.
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   D. The Paramount Interest of the Creditors and a Proper Deference to Their
      Reasonable Views in the Premises.
       27.     Gaucho firmly believes that the Settlement Term Sheet is in the best
interests of the estate and its creditors. 3i currently holds a $8,022,667.19 secured claim
that encompasses all the assets of the estate, putting at risk any potential recovery for
creditors and stockholders. The proposed settlement, while requiring a settlement
payment of $5,500,000, will permit Gaucho to focus on the many growth opportunities
that the changing and rapidly improving Argentinian market now provides.
       28.     Accordingly, Gaucho believes this Settlement is eminently reasonable and
should be approved.
       WHEREFORE, Gaucho respectfully requests that the Court grant this Motion,
approve the proposed settlement between Gaucho and 3i, and grant such other and
further relief as this Court deems appropriate.


Dated: March 14, 2025                        Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2025, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on the
Service List, either via transmission of Notices of Electronic Filing generated by CM/ECF
or by first class U.S. mail for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing, and all creditors by first class U.S. mail.
                                                       /s/ Luis Salazar
                                                       Luis Salazar
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                     EXHIBIT A
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                                                                        G&S Revised Draft 3/12/25
                                                                                CONFIDENTIAL
                                                            SUBJECT TO FRE 408 & EQUIVALENTS
                                                               FOR DISCUSSION PURPOSES ONLY
                                                SETTLEMENT TERM SHEET

                                                             March 12, 2025

            This term sheet (this “Term Sheet”) sets forth a summary of general terms for a settlement (the
            “Settlement”) among Gaucho Group Holdings, Inc. (“GGH”), Gaucho Group, Inc. (“GGI”), Algodon
            Global Properties, LLC (“AGP”), InvestProperty Group, LLC (“IPG”), Gaucho Ventures I-Las Vegas,
            LCC (“GV”), The Algodon Recoleta, S.R.L. (“AR SRL”), Algodon Properties II S.R.L. (“AP SRL”),
            Algodon Wine Estates S.R.L. (“AWE SRL”), and Gaucho Development S.R.L. (“GD SRL”, and together
            with GGH, GGI, AGP, IPG, GV, AR SRL, AP SRL, and AWE SRL, and any affiliate of the foregoing, the
            “Gaucho Parties”, and each, a “Gaucho Party”) and 3i, LP, as Collateral Agent and for itself and as a
            Noteholder (the “Lender”). The Gaucho Parties and the Lender are collectively referred to herein as the
            “Parties” and each is a “Party”. Capitalized terms used but not defined herein have the meanings set forth
            in the SPA or the Security Agreement (each, as defined herein) as applicable. The Settlement will be in
            exchange for allowance in the amount set forth below of the Lender’s proof of claim filed on in January 21,
            2025 (the “Claim”) in the case commenced by GGH on November 12, 2024 (the “Petition Date”) in the
            United States Bankruptcy Court for the Southern District of Florida (the “Bankruptcy Court”) under
            chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), In re Gaucho Group Holdings,
            Inc., Case No. 24-21852-LMI (the “Bankruptcy Case”) and will be consummated as part of a structured
            dismissal as set forth below.

            This Term Sheet and the information contained herein are entitled to protection from any use or disclosure
            to any party or person pursuant to Rule 408 of the Federal Rules of Evidence and any other applicable rule,
            statute, or doctrine of similar import protecting the use or disclosure of confidential settlement discussions.
            Until publicly disclosed with the prior written agreement of the Lender, this Term Sheet shall remain strictly
            confidential and may not be shared with any other party or person other than the Parties and their retained
            professionals without the consent of the Lender.

            Without limiting the generality of the foregoing, this Term Sheet and the undertakings contemplated
            herein are subject in all respects to the negotiation, execution, and delivery of the Definitive Documents
            (as defined herein).

            THIS TERM SHEET IS NOT AN OFFER OR A SOLICITATION WITH RESPECT TO ANY
            SECURITIES, LOANS OR OTHER INSTRUMENTS OR A SOLICITATION OF ACCEPTANCES
            OF A CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE
            BANKRUPTCY CODE. ANY SUCH OFFER, ACCEPTANCE OR SOLICITATION WILL
            COMPLY WITH ALL APPLICABLE LAW, INCLUDING SECURITIES LAWS AND/OR
            PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN THIS TERM
            SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY. THE TRANSACTIONS
            DESCRIBED HEREIN WILL BE SUBJECT TO BANKRUPTCY COURT APPROVAL.

            THE REGULATORY, TAX, ACCOUNTING, AND OTHER LEGAL AND FINANCIAL
            MATTERS AND EFFECTS RELATED TO THE TRANSACTIONS CONTEMPLATED BY THE
            SETTLEMENT OR ANY RELATED TRANSACTION OR SIMILAR TRANSACTION HAVE
            NOT BEEN FULLY EVALUATED. NOTHING HEREIN SHALL CONSTITUTE OR BE
            CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY, AND EACH STATEMENT
            CONTAINED HEREIN IS MADE WITHOUT PREJUDICE, SOLELY FOR SETTLEMENT
            PURPOSES.
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                                                                                           CONFIDENTIAL
                                                                       SUBJECT TO FRE 408 & EQUIVALENTS
            Term                                                         Description
                                                             Overview
      Overview of the       This Term Sheet contemplates a comprehensive settlement between the Parties regarding the
        Settlement          outstanding Secured Note Obligations (as defined below), the Litigations (as defined below), the
                            Bankruptcy Case and all other disputes between the Parties. The Settlement is subject to the
                            execution and delivery by the Parties of the Definitive Documents and Bankruptcy Court approval.
                            The terms and conditions of the Settlement shall be set forth in a “Settlement Agreement” executed
                            by the Parties.
        Secured Note        “Secured Note Obligations” means, collectively, the obligations outstanding under: (i) that certain
         Obligations        Securities Purchase Agreement, dated as of February 21, 2023 (as otherwise amended, restated,
                            supplemented, or otherwise modified from time to time, the “SPA”) by and among GGH and the
                            Lender (the “Noteholder”); (ii) that certain Pledge and Security Agreement, dated as of February 21,
                            2023 (as amended, restated, supplemented, or otherwise modified from time to time, the “Security
                            Agreement”), by and among GGH, GGI, the Noteholder, and the Lender, pursuant to which GGH
                            and GGI granted to the Lender, for itself and for the benefit of the Noteholder, a security interest in
                            the Collateral; (iii) that certain Intellectual Property Security Agreement, dated February 21, 2023
                            (as otherwise amended, restated, supplemented, or otherwise modified from time to time, the “IP
                            Security Agreement”) by and among GGH and the Lender in favor of the Lender; (iv) that certain
                            Senior Secured Convertible Note, dated as of February 21, 2023, by GGH in favor of the Lender as
                            Noteholder in the original principal amount of $5,617,978 (as amended, amended and restated,
                            supplemented or otherwise modified prior to the date hereof, the “Secured Note”); and (v) any other
                            document instrument and agreement executed by GGH, GGI, the Noteholder, GGH officers in their
                            individual capacity, and/or the Lender in connection with the foregoing documents (collectively, the
                            “Loan Documents”).
         Litigations        “Litigations” means, collectively, all pending litigations between a Gaucho Party and the Lender,
                            including, without limitation, the cases styled as (i) Gaucho Group Holdings, Inc. v. 3i, LP, 3i
                            Management, LLC, and Maier Joshua Tarlow, Case No. 24-cv-00212-UNA pending in the United
                            States District Court for the District of Delaware (the “Delaware Action”), (ii) 3i, LP, 3i Management
                            LLC and Maier Joshua Tarlow v. Gaucho Group Holdings, Inc., Case No. 1:2024-mc-03915,
                            pending in the United States District Court for the Eastern District of New York, (iii) 3i, LP, 3i
                            Management, LLC, and Maier Joshua Tarlow v. Gaucho Group Holdings, Inc., Case No. 2:24-mc-
                            03929-NJC, pending in the United States District Court for the Eastern District of New York, (iv) 3i,
                            LP v. Gaucho Group Holdings, Inc. and Gaucho Group, Inc., Index No. 652908/2024, pending in
                            the New York County Supreme Court, and (v) 3i, LP v. Gaucho Group Holdings, Inc., Index No.
                            653080/2024, pending in the New York County Supreme Court.
      Description of  Upon execution of this Term Sheet, the Parties will:
     Settlement Terms
                      (i)    not later than March 12, 2025 jointly seek a 45-day extension of all deadlines in the
                             Bankruptcy Case and Litigations, pending Bankruptcy Court approval of the Settlement,
                             including to extend the exclusivity period for the Debtor to file a chapter 11 plan and to file
                             an objection to GGH’s motion to subordinate the Lender’s Claim [Dkt. No. 284];
                      (ii)   the Debtor will seek authority to extend the terms of the ASOF DIP financing to continue to
                             provide funding through the 45-day period on substantially the same terms and conditions
                             as those approved by the Court on January 31, 2025, and subject to Lender’s objection [Dkt.
                             No. 178];
                      (iii)  not commence any new contested matter or adversary proceeding against any other Party in
                             the Bankruptcy Case or assert additional claims or causes of action in the Litigations during
                             the 45-day standstill period (as may be extended); and



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                            (iv)    not later than March 17, 2025 jointly prepare and file a motion to approve the Settlement in
                                    the Bankruptcy Court.

                            The material terms of the Settlement shall be as follows:
                            (i)    The Lender, for itself and the Noteholder(s), shall have an allowed secured claim in the
                                   amount of $5,500,000;
                            (ii)   GGH shall pay Lender a total of $5,500,000 in cash (the “Cash Settlement”) in satisfaction
                                   of the Claim in three installments (each a “Cash Settlement Installment”) as follows:
                                        1. Pay Lender a total of $500,000 in cash at Closing;
                                        2. Pay Lender a total of $1,000,000 in cash no later than 45 calendar days after the
                                            Closing; and
                                        3. Pay Lender the remaining $4,000,000 in cash no later than 12 months after the
                                            Closing.
                            (iii)  At Closing, GGH shall cause AGP, IPG and AP SRL (collectively, the “Settlors”) to convey
                                   and transfer to the Trustee (the “Trustee”) of a newly formed Fideicomiso en Garantía
                                   (the “Security Trust”) all of Settlors’ right, title and interest in and to 100% of the quota
                                   interests in AR SRL and all ancillary rights and benefits thereunder, or all right, title and
                                   interest in and to the Hotel (defined below) or both. The Trustee will be an independent
                                   trustee domiciled in Buenos Aires, Argentine, acceptable to Lender and GGH. The primary
                                   beneficiary will be the Lender and the secondary/residual beneficiary will be the Settlors.
                                   The corpus of the Security Trust shall be the property of the Security Trust and the Settlors
                                   shall have no legal or equitable interest other than as a secondary/residual beneficiary. The
                                   Parties shall agree on a minimum sale price of the Hotel in case of Default, which shall not
                                   be less than the Loan Balance (as defined below), once the appraisals of the Algodon
                                   Mansion are completed.
                            (iv)   The Gaucho Parties shall pay the fees, filing fees and costs incurred to prepare the Trust
                                   Agreement, grant the Trustee full power of attorney and transfer the quota interests or Hotel
                                   or both to the Security Trust, the fees and costs of the Trustee and any taxes, fees or charges
                                   payable to a governmental entity related to the creation of the Trust, the power of attorney
                                   and the transfer of the quota interests.
                            (v)    The Trustee shall be given the irrevocable power of attorney with sole power and authority
                                   to take any of the following actions for and on behalf of AR SRL:
                                         Execute and deliver the Hotel Management Agreement (as defined below);
                                         Consent to any financing or other money borrowed by AR SRL or secured by any
                                            of the assets of AR SRL (which shall also require the prior written consent of the
                                            Lender and AR SRL’s organization documents will be amended to make clear that
                                            it does not have the authority to incur indebtedness for borrowed money or to grant
                                            liens or mortgages without the consent of the Trustee and the Lender);
                                         At the direction of Lender, after the occurrence of a Default under the terms of the
                                            Settlement, terminate the Hotel Management Agreement (defined below) and retain
                                            a new hotel manager, and on terms and conditions, acceptable to Lender;
                                         After the occurrence of a Default, retain a broker to market for sale the Hotel
                                            (defined below) on terms and conditions acceptable to Lender;
                                         After the occurrence of a Default, sell any and all right, title and interest in or to that
                                            certain real property and improvements known as the “Algodon Mansion” located
                                            in Buenos Aires, Argentina, together with all personal property, trade names and
                                            other related intellectual property (including, without limitation, trademarks and
                                            tradenames, websites, and social media accounts), contracts (including, without



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                                             limitation, booking agreements) and leases, if any and to the extent designated to be
                                             assigned by the buyer, and any and all licenses and permits (if transferable)
                                             necessary to own, manage and operate the hotel, restaurant, bar and food and
                                             beverage services, and any and all keys, codes, passwords, books and records related
                                             to the operations of the Algodon Mansion hotel (collectively, the “Hotel”) free and
                                             clear of all liens, claims, and encumbrances (such conveyance or transfer of the
                                             Hotel defined herein as the “Hotel Transfer”);
                                            Pay from the gross proceeds of a sale of the Hotel, the broker fees and commissions,
                                             Trustee’s fees and expenses, attorney’s fees, stamp taxes and other out of pocket
                                             costs in connection with a sale (the gross proceeds less the foregoing costs and
                                             expenses shall yield the “Net Proceeds”), provided, that, AR SRL shall be solely
                                             liable for any income, capital gain or similar taxes related to, or arising from the sale
                                             of, the Hotel; and
                                            Distribute to the Lender and AR SRL the Net Proceeds in accordance with the terms
                                             of the Settlement and the Trust Agreement.

                            (vi)     Defaults shall include, inter alia, (i) GGH fails to pay Lender any Cash Settlement
                                     Installment when due under the terms of the Settlement, (ii) a material breach of the Hotel
                                     Management Agreement, (iii) any act or failure to act by GGH, AR SRL or any other Gaucho
                                     Party in violation of the terms of the agreement governing the Security Trust (the “Trust
                                     Agreement”), (iv) if AR SRL incurs any liability for money borrowed or grants a security
                                     interest in any of the assets of AR SRL without the consent of Lender, and (iv) any request
                                     by a Gaucho Party or an affiliate of a Gaucho Party to invalidate, unwind, avoid, enjoin, stay
                                     or otherwise challenge or oppose the formation of the Security Trust, the transfer of the quota
                                     interests and related rights and interests to the Trustee of the Security Trust, the appointment
                                     and powers of the Trustee and any actions taken by the Trustee to cause the sale of the Hotel
                                     and distribute the proceeds thereof in accordance with the terms of the Trust Agreement;
                            (vii)    Provided a Default has not occurred, promptly after Lender has received payment in full of
                                     the Cash Settlement, the Trustee shall transfer the quota interests in AR SRL to the Settlors
                                     in the same percentages as they held prior to the Closing of the Settlement;
                            (viii)   Upon the occurrence of a Default, the Lender shall be entitled to payment in full of the entire
                                     amount of Secured Note Obligations (which shall be not less than $8,022,667.19, plus all
                                     unpaid interest, costs, fees and expenses that accrued under the Loan Documents as of the
                                     date of execution of this Term Sheet), less any Cash Settlement Installments received by
                                     Lender (the “Loan Balance”);
                            (ix)     Upon the occurrence of a Default, the Trustee shall, for and on behalf of AR SRL, (A) within
                                     30 days after being directed by the Lender, retain a broker to market for sale the Hotel on
                                     terms and conditions acceptable to Lender, terminate the Hotel Management Agreement,
                                     retain a new hotel manager that is not affiliated with the Gaucho Parties under a new hotel
                                     management agreement acceptable to Lender, and (B) if the Trustee receives one or more
                                     offers that meet the minimum conditions set forth in the Trust Agreement, subject to
                                     Lender’s ROFR Right (defined below), close on the sale of the Hotel for the highest and best
                                     offer received, provided, however, in the event the Trustee does not, within six months after
                                     the retention of a broker, close on the sale of the Hotel for a purchase price that will yield
                                     Net Proceeds equal to at least the Loan Balance, the Trustee shall, at the direction of the
                                     Lender, convey the Hotel to the Lender or its designee in satisfaction of the Loan Balance,
                                     in which case, GGH’s obligation to pay the Loan Balance (costs, expenses, fees,
                                     commissions etc,.) , and all other obligations of the Parties under the Settlement, shall be
                                     deemed to have been satisfied (other than obligations that expressly survive under the terms


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                                     and conditions of the Settlement (such as the non-solicitation, releases and GGH’s obligation
                                     to dismiss the Bankruptcy Case)) and the Trustee shall thereafter transfer the quota interests
                                     in AR SRL to the Settlors in the same percentages as they held prior to the Closing of the
                                     Settlement.
                            (x)      Lender shall have a right of first refusal, on not less than 30 days prior notice from the
                                     Trustee, to match the highest and best offer received by the Trustee for the Hotel (the “ROFR
                                     Right”). If the ROFR Right is timely exercised, the Trustee will convey the Hotel to Lender
                                     or its designee and the Lender may credit the Loan Balance against the purchase price being
                                     paid, with any excess Net Proceeds to be distributed by the Trustee to the Lender and AR
                                     SRL pursuant to the sharing arrangement below in clause (xi). If the ROFR Right is not
                                     timely exercised, then the Trustee may proceed with the closing of the sale of the Hotel in
                                     accordance with the terms and conditions of the highest and best offer received;
                            (xi)     Upon the consummation of the sale of the Hotel, the Trustee shall distribute the Net Proceeds
                                     as follows: (i) first, to the Lender in the amount of the unpaid Loan Balance, (ii) with any
                                     excess to be paid 50% to the Lender and 50% to AR SRL;
                            (xii)    The full and timely payment of the Cash Settlement shall be deemed to satisfy the Lender’s
                                     Secured Note Obligations in full;
                            (xiii)   A mutual release (other than with respect to each Party’s obligations under the Settlement
                                     Agreement and Trust Agreement) in form and substance satisfactory to GGH and the Lender
                                     (the form to be attached to the Settlement Agreement);
                            (xiv)    GGH agrees to entry of a consent judgment in favor of Defendants in the Delaware Action;
                            (xv)     Lender dismisses with prejudice the Litigations described in the “Litigations” section of this
                                     Term Sheet in clauses (ii)-(iv) (with the terms and conditions of the Settlement to survive);.
                            (xvi)    GGH shall direct The Basile Law Firm that it may not refer to or use GGH and its case in its
                                     marketing materials.; and
                            (xvii)   The satisfaction of the Conditions to the Closing described below in the “Conditions” section
                                     of this Term Sheet.

            Terms and Conditions
           Closing          “Closing” means the date on which each of the conditions (the “Conditions”) to the effectiveness of
                            the transactions contemplated by this Term Sheet shall have been satisfied or waived in accordance
                            with their terms, which shall not be later than May 22, 2025. The Closing will be in escrow. In
                            general, the Parties will execute and deliver to the Escrow Agent documents and instruments to which
                            they are a signatory, together with any payments to be made at Closing, After all the conditions to
                            Closing are satisfied or waived by the Parties, the Escrow Agent shall release the signed documents,
                            instruments and cash payments and file, record or deliver them in accordance with the terms of an
                            Escrow Agreement.
         Conditions         The material Conditions to the Closing shall be:
                            (i)      Lender’s satisfaction with the Hotel Diligence by no later than 30 days after execution of
                                     this Term Sheet;
                            (ii)     Bankruptcy Court approval of the Settlement by a final, non-appealable order, which shall
                                     not be later than April 11, 2025;
                            (iii)    Execution and delivery by the appropriate Parties of the documents and instruments
                                     necessary to consummate the transfer of the quota interests to the Security Trust, in addition
                                     to all right, title and interest in the Hotel;
                            (iv)     Payment by GGH to Lender of $500,000 in cash as the first installment of the Cash
                                     Settlement;



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                            (v)      Execution and delivery of the agreements to terminate any and all purchase and sale
                                     agreements entered into between any one or more of the Gaucho Parties and Maier Tarlow,
                                     Mordechai Tarlow, and Paula Zogala and the return of their respective deposits in
                                     immediately available funds in the aggregate amount of US $107,900;
                            (vi)     In the Delaware Action, the filing of a proposed form of consent judgment in favor of
                                     Defendants in the Delaware Action; Lender dismissing with prejudice the Litigations
                                     described in the “Litigations” section of this Term Sheet in clauses (ii)-(iv);
                            (vii)    GGH withdrawal of the subordination motion in the Bankruptcy Case;
                            (viii)   UCC-3 terminations of Lender’s liens on GGH’s and GGI’s assets (including the pledge of
                                     interests in GGH’s direct subsidiaries);
                            (ix)     Termination of the Independent Manager of AGP and IGP and retraction of the amended
                                     and restated limited liability company operating agreements for such entities;
                            (x)      Execution and delivery of a new hotel management agreement in form and substance
                                     acceptable to GGH and Lender between AR SRL (to be signed by the Trustee under power
                                     of attorney) and the current manager of the Hotel that will be cross-defaulted with the
                                     Settlement Agreement (the “Hotel Management Agreement”). The Hotel Management
                                     Agreement will contain market standards for the maintenance and upkeep of the Hotel
                                     premises, limits on any reduction in nightly room rates, terms of employment for any
                                     employees of the Hotel or the manager and compliance with applicable law;
                            (xi)     Formal recognition of the Trustee as the SRL’s power of attorney and granting Trustee the
                                     appropriate rights and powers, and that the SRL does not have the authority to incur
                                     indebtedness for borrowed money or to grant liens or mortgages on its assets without the
                                     consent of the Trustee and the Lender; and
                            (xii)    Execution and delivery of a letter from Scott Mathis to Lender in form and substance
                                     acceptable to Lender acknowledging the decision in the Delaware Action that GGH’s claims
                                     and causes of action against the Lender did not have a likelihood of success on the merits,
                                     describing the negative consequences to GGH resulting from GGH’s commencement of the
                                     Delaware Action (including the Bankruptcy Case, the incurrence of attorney’s fees and costs,
                                     and the disruption of the Debtor’s businesses) and advising any other entity or person doing
                                     business with 3i not to bring a similar action (the “Mathis Letter”).
       Case Dismissal       “Case Dismissal Order” means a final order in form and substance acceptable to GGH and the
           Order            Lender providing for the structured dismissal of the Bankruptcy Case. The order approving the
                            Settlement will include a decretal provision directing the Debtor to file by no later than June 2, 2025
                            a motion for dismissal of the Bankruptcy Case.
      Mutual Releases       Mutual releases of claims to the fullest extent permitted by applicable law with carveouts for
                            obligations under the terms and conditions of the Settlement.
        Fees & Costs        Each Party shall be responsible for such Party’s costs and professional fees incurred to date and to
                            negotiate, document and close the Settlement, including but not limited to attorney’s fees.
        Cooperation         The Parties will reasonably cooperate with each other in the consummation of the transactions
                            contemplated under the Settlement. The Gaucho Parties shall not, and shall not permit its counsel in
                            the Delaware Action, agents or representatives to, publish or otherwise disseminate information
                            concerning the Litigations other than disclosing copies of the Mathis Letter. If requested by the
                            Lender, Mr. Mathis agrees to participate with Lender in a call with any borrower or future borrower
                            of Lender that is considering commencing or has commenced legal action against the Lender or any
                            affiliate of the Lender challenging the validity, amount or enforcement of a loan arrangement.




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       Hotel Diligence      The Lender’s obligation to proceed with the transactions contemplated under the Term Sheet is
                            subject to confirmatory diligence on the Hotel (the “Hotel Diligence”), to be updated monthly
                            through the Closing, including, without limitation:
                                       Quarterly financials for the Hotel for the period March 1, 2023 – March 31, 2025
                                       AR/AP aging schedule as of February 28, 2025
                                       Detailed list of personal property assets
                                       Title report
                                       Schedule of capital lease obligations
                                       Copies of all contracts, leases, licenses, permits
                                       Copies of all notes, loan agreements, security agreements, mortgages and other
                                       documents and instruments evidencing any money loaned to AR SRL or guaranteed by
                                       AR SRL (or for which AR SRL is a co-obligor), together with current balances and loan
                                       status
                                       List of suppliers and vendors, including their current account status, AP and contracts
                                       Employee list
                                       List of banks used by the Hotel and for each, the accounts
                                       Operating and capital budgets for 2025
                                       Environmental reports
                                       Most recent survey
      Governing Law,        This Term Sheet and the Settlement Agreement and the ancillary documents and instruments shall
      Jurisdiction, and     be governed by the laws of the State of Delaware or the applicable laws in Argentina where
           Venue            appropriate without regard to choice of law rules. The Parties agree that the Bankruptcy Court shall
                            retain jurisdiction to enforce the Settlement and all related agreements. Venue for any disputes shall
                            be the Bankruptcy Court.
        Third-Party         Except as specifically set forth or referred to herein, nothing herein is intended or shall be construed
        Beneficiaries       to confer upon any person or entity other than the Parties and their successors or assigns, any rights
                            or remedies under or by reason of this Term Sheet.
        Counterparts        This Term Sheet may be executed in any number of counterparts, all of which together will for all
                            purposes constitute one and the same agreement. Counterparts may be delivered via electronic mail
                            (including pdf or any electronic signature complying with the U.S. federal ESIGN Act of 2000, e.g.,
                            www.docusign.com) or other transmission method and any counterpart so delivered shall be deemed
                            to have been duly and validly delivered and be valid and effective for all purposes.



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                        IN WITNESS WHEREOF, the Parties hereto have executed and delivered this Term
            Sheet effective as of the date first set forth above.


                                                                     [Lender Parties]
                                                                     By:
                                                                     Name: Maier Tarlow
                                                                     Title: Managing Partner

                                                                     Gaucho Group Holdings, Inc.

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: President & CEO


                                                                     Gaucho Group, Inc.

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: President & CEO


                                                                     InvestProperty Group, LLC

                                                                     By: Gaucho Group Holdings, Inc., its Sole and
                                                                     Managing Member

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: President & CEO


                                                                     Algodon Global Properties, LLC

                                                                     By: InvestProperty Group, LLC, its Sole and
                                                                     Managing Member

                                                                     By: Gaucho Group Holdings, Inc., its Sole and
                                                                     Managing Member

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: President & CEO




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                                                                     Gaucho Ventures I-Las Vegas, LLC

                                                                     By: Gaucho Group Holdings, Inc., its Sole and
                                                                     Managing Member

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: President & CEO


                                                                     The Algodon Recoleta, S.R.L.

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: Authorized Signatory


                                                                     Algodon Properties II S.R.L.

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: Authorized Signatory


                                                                     Algodon Wine Estates S.R.L.

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: Authorized Signatory


                                                                     Gaucho Development S.R.L.

                                                                     By:
                                                                     Name: Scott L. Mathis
                                                                     Title: Authorized Signatory




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